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                                                                                                                   EXHIBIT C


                                       IN    THE STATE COURT OF DEKALB COUNTY
                                                    STATE OF GEORGIA

             LYNDSEY LONG,                                        )

                                                                  )

                                Plaintiff,                        )

                                                                  )           CIVIL ACTION FILE
             VS'
                                                                                   20A83681
                                                                  g         NO
             WAL-MART STORES EAST. L.P.                           )




                                                             M
                                                                  )

                                Defendant.                        )




                    COMES NOW LYNDSEY LONG                            and ﬁles   this   her Complaint for Personal Injuries


             against Defendant     WAL-MART STORES EAST. L.P.                    and shows   this   Court the following:


                                                                       1.



                    Plaintiff,    Lyndsey Long     (hereinafter   sometimes referred       t0 as   “LONG”      0r “Plaintiff”),   is   a


             resident of the State of Georgia and,      by   the ﬁling 0f this Complaint,          is   subject t0 the jurisdiction


             and venue of this Court.

                                                                       2.



                    Defendant WAL-MART              STORES EAST, LP (hereinafter sometimes referred t0 as “WAL-

             MART”)      is   a Foreign Proﬁt Corporation, lawfully doing business in Georgia and having, as                       its



             principal place of business, an address located at         702   SW 8th Street, Bentonville, Arkansas 72716.
                                                                       3.



                    At   all   times relevant hereto, Defendant       WAL-MART operated a Wal-Mart Supercenter in

             Dekalb County located       at   8424 Mall Parkway, Lithonia, Georgia 30038.




                                                                                                                       Page   1   Of 7 STATE COURT 0F
                                                                                                                                   DEKALB COUNTY, GA.
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                                                                        4.



             Plaintiffbrings this action under O.C.G.A. § 14-2-5 10(b)(3)          which indicates,     in pertinent part, that:


                    (b)       Each domestic corporation and each foreign corporation authorized                         to transact


                              business in this state shall be       deemed to reside and to be   subj ect t0   venue as follows:


                                      (3)     In actions for        damages because of torts, wrong, 0r          injury done, in


                                              the county      Where the cause of action      originated, if the corporation


                                              has an ofﬁce and transacts business in that county.


                                                                        5.



                    The wrongful conduct described herein was committed                in   DeKalb County and Defendant

             WAL-MART operates a retail facility and has an ofﬁce and transacts business in DeKalb County.

                                                                        6.



                    WAL-MART STORES EAST, LP is subject t0 the jurisdiction and venue 0f this Court.

                                                                        7.



                    Defendant     WAL—MART           has,   as   its   Registered Agent in Georgia, The Corporation


             Company      located at 112 North     Main   Street,   Cumming, Forsyth County, Georgia 30040.

                                                                        8.



                    Defendant     WAL—MART          can be properly served in       this action   by   delivering an original


             Summons and Complaint t0        its   Registered Agent.


                                                    GENERAL ALLEGATIONS
                                                                        9.



                    At 0r around 11:30 a.m. 0n        May 7,     2020, Plaintiff Long was     at the   Wal-Mart Supercenter

             (hereinafter   sometimes “the Wal-Mart Supercenter” 0r as “the Supercenter”) located                  at   8424 Mall

             Parkway, Lithonia, Dekalb County, Georgia 30038.




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                                                                           10.


                       While shopping       at the   Supercenter and pushing a Wal-Mart shopping             cart, Plaintiff slipped



             on a     clear liquid in the produce area             of the store that plaintiff reasonably believes was water,


             injuring her right knee       and hip which caused her            t0 experience immediate, severe pain.


                                                                           1 1.




                       Plaintiff, in pain,   but able t0 walk, decided to leave the store on her own.


                                                                           12.


                       The dangerous condition on            the   ﬂoor was     in   n0 way apparent 0r obvious.

                                                                           1   3.



                       The area Where       Plaintiff fell   was wet due       t0   what Plaintiff reasonably believes   t0   be water.


                                                                           14.


                        There were no signs in place warning of the dangerous, wet condition 0f the ﬂoor.


                                                                           1   5.



                       At   all   times herein, Plaintiff was watching where she was walking and was exercising


             reasonable care for her        own   safety.


                                                                     COUNT ONE
                                                                    NEGLIGENCE

                                                                           16.


                       Paragraphs     1   through 15 are incorporated by reference as though fully and completely                   set


             forth.



                                                                           17.


                       At   all   times relevant hereto, Defendant                  WAL-MART STORES         EAST, LP managed,

             operated and exercised control over the premises.




                                                                                                                         Page 3 0f 7


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                                                                        1 8.




                        At   all   times relevant hereto, Defendant               WAL-MART STORES               EAST, LP     exercised


             complete control over the immediate area where Plaintiff fell.


                                                                         1   9.



                        At n0 time When      Plaintiff fell,   were there n0 signs        in the area   Where   Plaintiff fell   warning

             of a wet or slippery condition or of a         spill   on the ﬂoor     to   warn the   Plaintiff or other invitees to the


             premises 0f such condition.


                                                                        20.


                        At   all   times relevant hereto, Defendant      WAL—MART STORES                  EAST, LP had       a duty to


             exercise ordinary care t0 keep the premises at issue, and                more   speciﬁcally, the area     Where     Plaintiff


             fell,   safe for invitees   and others lawfully 0n the property from known dangers, 0r dangers 0f Which


             they should,      if exercising   reasonable care, have been aware.


                                                                        21.


                        At   all   times relevant hereto, Defendant      WAL-MART STORES                  EAST, LP had       a duty t0


             inspect the premises at issue, and       more     speciﬁcally, t0 inspect and maintain the area where Plaintiff


             fell in   order t0 ensure the area     was   safe t0 invitees        and others lawfully on the property.

                                                                        22.


                        The dangerous condition           that existed in the area           Where    Plaintiff fell   was known       t0


             Defendant WAL-MART                STORES EAST, LP, 0r in the exercise of ordinary care, should have been

             discovered by Defendant           WAL-MART STORES EAST, LP.

                                                                        23.


                        Defendant      WAL-MART STORES              EAST, LP breached          its   duty to the Plaintiff by failing


             to take reasonable actions to correct          known, dangerous conditions on the property                 at issue; 0r t0




                                                                                                                           Page 4 0f 7


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             discover and take reasonable actions to correct dangerous conditions which Defendant                                WAL—

             MART STORES EAST, LP should have discovered in the exercise 0f ordinary care, Which breach
             resulted in and proximately caused the injuries suffered                  by    the Plaintiff   when   she   fell   on the

             premises      at issue.



                                                                           24.


                       The negligence of Defendant              WAL-MART STORES EAST, LP in failing to inspect and

             keep   its   premises safe for    its   invitees   was   the sole, proximate cause 0f the incident resulting in


             injuries t0 the Plaintiff.


                                                                   COUNT TWO
                                                                    DAMAGES
                                                                           25.


                       Paragraphs      1   through 24 are incorporated by reference as though fully and completely set


             forth herein.


                                                                           26.


                       As    a direct and proximate result 0f the injuries incurred               by   the Plaintiff, Plaintiff has


             incurred medical expenses to date as follows:


                                 Emory      Hillandale Hospital                         $2,225.00


                                 CEP America                                            $684.00


                                 Emory University Orthopedics             & Spine       $2,863.00


                                 Emory University        Hospital     — Midtown         TBD

                                                                         TOTAL:         $5,772.00+

             for the   Which    Plaintiff is entitled t0 recover against         Defendant   WAL-MART STORES EAST,

             LP.




                                                                                                                          Page 5 0f 7


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                                                                            27.


                    As     a direct and proximate result 0f the injuries incurred in the                      fall at   the   Wal-Mart

             Supercenter described above, Plaintiff experienced immediate and excruciating physical pain


             accompanying the         injuries she sustained in the fall. Plaintiff has continued t0 suffer physical               and

             emotional pain as a result 0f her injuries and            is    likely t0 continue t0 suffer such physical pain       and

             emotional distress into the future for Which she seeks to recover general damages from Defendant


             Wal-Mart     in   an amount t0 be determined by a jury.


                    WHEREFORE, having set forth her claims against Defendant 0r the which Plaintiff is

             entitled t0 recover against       Defendant    WAL-MART STORES EAST, LP., Plaintiff prays:

                    (a)         for   Judgment   in favor   0f Plaintiff against Defendant Which Plaintiff is entitled t0


                                recover against Defendant          WAL-MART STORES EAST, LP.                    for   compensatory


                                (special)    damages proven       at trial   including past, present and future medical         bills;



                                and;


                    (b)         for   Judgment   in favor   0f Plaintiff against Defendant Which Plaintiff is entitled to


                                recover against Defendant         WAL-MART STORES EAST, LP.                     for general


                                damages      for past, present    and future mental and physical pain and suffering

                                incurred as a direct and proximate result of the injuries she incurred;


                    (a)         for   TRIAL BY JURY; and

                    (b)         for such other    and further     relief as the    Court deems just and proper


                    Respectfully submitted this          1_St
                                                                day of December, 2020

                                                                                  ISENBERG & HEWITT,             P.C.


                                                                                  /S/Melvin   L Hewitt
                                                                                  Melvin   L. Hewitt,   Jr.

                                                                                  Georgia Bar No. 3503 19
                                                                                  Hilary   W. Hunter
                STATE COURT OF
                DEKALB COUNTY, GA.
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                                                          Georgia Bar No. 742696
                                                          Richard J Crowson
                                                          Georgia Bar N0. 452036
                                                          Attorneys for Plaintiffs
             600 Embassy Row, Suite 150
             Atlanta, Ga 30328
             T 770 351 4400
             F 770 828 0100
             mel@isenberg-hewitt.com
             hilary@isenberg-hewitt.com
             rick@isenberg-hewitt.com




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                                                        DEKALB COUNTY, GA.
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                                                                                                                                   EXHIBIT C
                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   12/14/2020
                                                                                                   CT Log Number 538746137
TO:         Kim Lundy Service Of Process
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Long Lyndsey, Pltf. vs. Wal-Mart Stores East. L.P., Dft.
                                                 Name discrepancy noted.
DOCUMENT(S) SERVED:                              Summons, Complaint, First Interrogatories, First Request
COURT/AGENCY:                                    Dekalb County - State Court, GA
                                                 Case # 20A83681
NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 05/07/2020 - 8424 Mall Parkway, Lithonia,
                                                 Georgia 30038
ON WHOM PROCESS WAS SERVED:                      The Corporation Company (FL), Cumming, GA
DATE AND HOUR OF SERVICE:                        By Process Server on 12/14/2020 at 12:34
JURISDICTION SERVED :                            Georgia
APPEARANCE OR ANSWER DUE:                        Within 30 days after service, exclusive of the day of service (Document(s) may
                                                 contain additional answer dates)
ATTORNEY(S) / SENDER(S):                         Melvin L. Hewitt, Jr.
                                                 Isenberg & Hewitt, P.C.
                                                 600 Embassy Row, Suite 150
                                                 Atlanta, GA 30328
                                                 770-351-4400
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 12/15/2020, Expected Purge Date:
                                                 12/20/2020

                                                 Image SOP

                                                 Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

REGISTERED AGENT ADDRESS:                        The Corporation Company (FL)
                                                 112 North Main Street
                                                 Cumming, GA 30040
                                                 877-564-7529
                                                 MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




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                                                                                                                                     EXHIBIT C
                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    12/14/2020
                                                                                                    CT Log Number 538746137
TO:         Kim Lundy Service Of Process
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Georgia

FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




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      20A83681
                                                        STATE COURT OF DEKALB COUNTY
  No.
                                                           GEORGIA, DEKALB COUNTY
  Date Summons Issued and E-Filed                               SECOND ORIGINAL
        12/1/2020                                                         SUMMONS

        /s/ Kelly I-lack

  Deputy Clerk
                                               LYNDSEY LONG
  Deposit Paid $

                                              Plaintiffs name and address
                                              VS.
 []        JURY
                                               WAL-MART STORES EAST, L.P.


                                               Defendant's name and address

TO THE ABOVE-NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2nd Floor,
Administrative Tower, DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia 30030 and
serve upon the plaintiff's attorney, to wit:

 Melvin L Hewitt Jr / Hilary W Hunter / Richard J Crowson
 Name
 600 Embassy Row, Ste 150, Atlanta GA 30328
 Address
(770) 351-4400                                          350319 / 742696 / 45236
Phone Number                                                Georgia Bar No.

an ANSWER to the Complaint which is herewith served upon you, within thirty (30) days after service upon
you, exclusive of the day of service. If you fail to do so,judgment by default will be taken against you for the
relief demanded in the complaint. The answer or other responsive pleading can be filed via electronic filing
through eFileGA via www.eFileGA.com or, if desired, at the e-filing public access terminal in the Clerk's Office
at 556 N. McDonough Street, Decatur, Georgia 300030


Defendant's Attorney                                        Third Party Attorney

Address                                                     Address

Phone No.                         Georgia Bar No.           Phone No.                         Georgia Bar No.

                                                TYPE OF SUIT

ro Personal Injury 0 Products Liability                     Principal $
o Contract 0 Medical Malpractice
El Legal Malpractice 0 Product Liability                    Interest $
0 Other
                                                            Atty Fees $

Access to the e-filing site and the rules is available at www.dekalbstatecourt.net
To indicate consent to e-service check the box below.
Eg(Plaintiff consents to e-service pursuant to OCGA 9-11-5(f). The email address for service appears
in the complaint.                                                                                    STATE COURT OF
                                                                                                  DEKALB COUNTY, GA.
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                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

LYNDSEY LONG,

               Plaintiff,
                                                      CIVIL ACTION FILE
vs.
                                                            20A83681
                                                      NO.
WAL-MART STORES EAST. L.P.

               Defendant.




                                          COMPLAINT

       COMES NOW LYNDSEY LONG and files this her Complaint for Personal Injuries

against Defendant WAL-MART STORES EAST. L.P. and shows this Court the following:

                                                 1.

       Plaintiff, Lyndsey Long (hereinafter sometimes referred to as"LONG"or "Plaintiff'), is a

resident of the State of Georgia and, by the filing of this Complaint, is subject to the jurisdiction

and venue of this Court.

                                                 2.

       Defendant WAL-MART STORES EAST,LP(hereinafter sometimes referred to as"WAL-

MART")is a Foreign Profit Corporation, lawfully doing business in Georgia and having, as its

principal place of business, an address located at 702 SW 8th Street, Bentonville, Arkansas 72716.

                                                 3.

        At all times relevant hereto, Defendant WAL-MART operated a Wal-Mart Supercenter in

Dekalb County located at 8424 Mall Parkway, Lithonia, Georgia 30038.




                                                                                         Page 1 of 7 STATE COURT OF
                                                                                                 DEKALB COUNTY, GA.
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                                                                                       EXHIBIT C



                                                 4.

Plaintiffbrings this action under 0.C.G.A.§ 14-2-510(b)(3)which indicates,in pertinent part, that:

       (b)     Each domestic corporation and each foreign corporation authorized to transact

               business in this state shall be deemed to reside and to be subject to venue as follows:

                     (3)      In actions for damages because of torts, wrong, or injury done, in

                              the county where the cause of action originated, if the corporation

                              has an office and transacts business in that county.

                                                 5.

       The wrongful conduct described herein was committed in DeKalb County and Defendant

 WAL-MART operates a retail facility and has an office and transacts business in DeKalb County.

                                                 6.

        WAL-MART STORES EAST,LP is subject to the jurisdiction and venue of this Court.

                                                 7.

        Defendant WAL-MART has, as its Registered Agent in Georgia, The Corporation

Company located at 112 North Main Street, Cumming,Forsyth County, Georgia 30040.

                                                 8.

        Defendant WAL-MART can be properly served in this action by delivering an original

Summons and Complaint to its Registered Agent.

                                  GENERAL ALLEGATIONS

                                                 9.

        At or around 11:30 a.m. on May 7, 2020, Plaintiff Long was at the Wal-Mart Supercenter

(hereinafter sometimes "the Wal-Mart Supercenter" or as "the Supercenter")located at 8424 Mall

Parkway, Lithonia, Dekalb County, Georgia 30038.




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                                                  10.

         While shopping at the Supercenter and pushing a Wal-Mart shopping cart, Plaintiff slipped

on a clear liquid in the produce area of the store that plaintiff reasonably believes was water,

injuring her right knee and hip which caused her to experience immediate, severe pain.

                                                  1 1.

         Plaintiff, in pain, but able to walk, decided to leave the store on her own.

                                                  12.

         The dangerous condition on the floor was in no way apparent or obvious.

                                                  13.

         The area where Plaintifffell was wet due to what Plaintiff reasonably believes to be water.

                                                  14.

          There were no signs in place warning ofthe dangerous, wet condition of the floor.

                                                  15.

         At all times herein, Plaintiff was watching where she was walking and was exercising

reasonable care for her own safety.

                                            COUNT ONE
                                           NEGLIGENCE

                                                  16.

         Paragraphs 1 through 15 are incorporated by reference as though fully and completely set

forth.

                                                  17.

         At all times relevant hereto, Defendant WAL-MART STORES EAST, LP managed,

operated and exercised control over the premises.




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                                                 18.

       At all times relevant hereto, Defendant WAL-MART STORES EAST, LP exercised

complete control over the immediate area where Plaintiff fell.

                                                 19.

       At no time when Plaintiff fell, were there no signs in the area where Plaintiff fell warning

of a wet or slippery condition or ofa spill on the floor to warn the Plaintiff or other invitees to the

premises of such condition.

                                                 20.

       At all times relevant hereto, Defendant WAL-MART STORES EAST, LP had a duty to

exercise ordinary care to keep the premises at issue, and more specifically, the area where Plaintiff

fell, safe for invitees and others lawfully on the property from known dangers, or dangers of which

they should, if exercising reasonable care, have been aware.

                                                 21.

       At all times relevant hereto, Defendant WAL-MART STORES EAST, LP had a duty to

inspect the premises at issue, and more specifically, to inspect and maintain the area where Plaintiff

fell in order to ensure the area was safe to invitees and others lawfully on the property.

                                                 22.

       The dangerous condition that existed in the area where Plaintiff fell was known to

Defendant WAL-MART STORES EAST,LP,or in the exercise ofordinary care,should have been

discovered by Defendant WAL-MART STORES EAST,LP.

                                                 23.

       Defendant WAL-MART STORES EAST, LP breached its duty to the Plaintiff by failing

to take reasonable actions to correct known, dangerous conditions on the property at issue; or to




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discover and take reasonable actions to correct dangerous conditions which Defendant WAL-

MART STORES EAST,LP should have discovered in the exercise of ordinary care, which breach

resulted in and proximately caused the injuries suffered by the Plaintiff when she fell on the

premises at issue.

                                                24.

        The negligence of Defendant WAL-MART STORES EAST,LP in failing to inspect and

keep its premises safe for its invitees was the sole, proximate cause ofthe incident resulting in

injuries to the Plaintiff.

                                          COUNT TWO
                                           DAMAGES

                                                25.

        Paragraphs 1 through 24 are incorporated by reference as though fully and completely set

forth herein.

                                                26.

        As a direct and proximate result of the injuries incurred by the Plaintiff, Plaintiff has

incurred medical expenses to date as follows:

                Emory Hillandale Hospital                    $2,225.00

                CEP America                                  $684.00

                Emory University Orthopedics & Spine         $2,863.00

                Emory University Hospital — Midtown          TBD

                                              TOTAL:         $5,772.00+
for the which Plaintiff is entitled to recover against Defendant WAL-MART STORES EAST,

LP.




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                                                27.

       As a direct and proximate result of the injuries incurred in the fall at the Wal-Mart

Supercenter described above, Plaintiff experienced immediate and excruciating physical pain

accompanying the injuries she sustained in the fall. Plaintiff has continued to suffer physical and

emotional pain as a result of her injuries and is likely to continue to suffer such physical pain and

emotional distress into the future for which she seeks to recover general damages from Defendant

Wal-Mart in an amount to be determined by a jury.

       WHEREFORE,having set forth her claims against Defendant or the which Plaintiff is

entitled to recover against Defendant WAL-MART STORES EAST,LP., Plaintiff prays:

      (a)      for Judgment in favor of Plaintiff against Defendant which Plaintiff is entitled to

               recover against Defendant WAL-MART STORES EAST,LP. for compensatory

              (special) damages proven at trial including past, present and future medical bills;

               and;

      (b)      for Judgment in favor of Plaintiff against Defendant which Plaintiff is entitled to

               recover against Defendant WAL-MART STORES EAST,LP. for general

               damages for past, present and future mental and physical pain and suffering

               incurred as a direct and proximate result of the injuries she incurred;

      (a)      for TRIAL BY JURY; and

      (b)      for such other and further relief as the Court deems just and proper

       Respectfully submitted this 1 day of December,2020

                                                      ISENBERG & HEWITT,P.C.

                                                      /s/Melvin L Hewitt
                                                       Melvin L. Hewitt, Jr.
                                                      Georgia Bar No. 350319
                                                      Hilary W. Hunter
   STATE COURT OF
   DEKALB COUNTY, GA.
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                                       Georgia Bar No. 742696
                                       Richard J Crowson
                                       Georgia Bar No.452036
                                       Attorneys for Plaintiffs
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rick@isenberg-hewitt.com




                                      STATE COURT OF
                                      DEKALB COUNTY, GA.
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                                                                                      EXHIBIT C



                      IN THE STATE COURT OF DEKALB COUNTY
                                STATE OF GEORGIA

LYNDSEY LONG,

               Plaintiff,

VS.                                                  CIVIL ACTION FILE

WAL-MART STORES EAST.L.P.                             NO.20A83681

               Defendant.


              PLAINTIFF LYNDSEY LONG'S FIRST INTERROGATORIES
                  TO DEFENDANT WAL-MART STORES EAST.L.P.

       COMES NOW LYNDSEY LONG (hereinafter "plaintiff') in the above-captioned case,

and hereby requires that defendant WAL-MART STORES EAST. L.P.(hereinafter sometimes

"WAL-MART")answer, under oath,the following interrogatories within forty-five(45)days from

the date of service of Plaintiffs First Interrogatories To Defendant Wal-Mart Stores East, L.P., as

provided by law, and furnish a copy of such answers to Plaintiff's attorneys, Isenberg & Hewitt,

PC,600 Embassy Row,Suite 150, Atlanta, Georgia 30328.

                                        INSTRUCTION

       In answering these interrogatories, you are required to furnish all information that is

available to you or subject to your reasonable inquiry including information in the possession of

your attorneys, accountants, advisors or other persons directly or indirectly employed by, or

connected with, you or your attorneys, and anyone else otherwise subject to your control.

       In answering these interrogatories, you must make a diligent search of your records and of

other papers and materials in your possession or available to you or your representatives. If an

interrogatory has subparts, answer each part separately and in full, and do not limit your answer to

                                                                                       Page 1 of 8
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the interrogatory as a whole. If these interrogatories cannot be answered in full, answer to the

extent possible, specify the reason for your inability to answer the remainder, and state whatever

information and knowledge you have regarding the unanswered portion.

        With respect to each interrogatory, in addition to supplying the information asked for and

identifying the specific documents referred to, identify and describe all documents to which you

refer in preparing your answers. The interrogatories are continuing,and the answers thereto must

be supplemented to the maximum extent authorized by law and the applicable rules.

                                         DEFINITIONS

        Unless otherwise indicated, the following definitions shall be applicable to these
interrogatories:

       A. "Person" shall mean and include a natural person, partnership, firm or corporation or
any other kind of business or legal entity, its agents or employees.

         B. In each instance wherein you are asked to "Identify" a person, or the answer to the
 interrogatory refers to a person, state with respect to each person:

         (1) his name, date of birth, and Social Security Number;

         (2) his last known residence, business address and telephone number;

         (3) his company affiliation at the date ofthe transaction referred to;

         (4) his title and duties in the company with which he was affiliated.

(The male gender includes the female, and the singular pronoun includes the plural.)

        C. The words "Document" and "Documents" mean all written, recorded, or graphic
matters, however produced or reproduced, whether or not privileged, pertaining in any way to the
subject matter ofthis action. This definition includes, but is not limited to, any and all originals,
copies, or drafts of any and all of the following: records; notes; summaries; schedules; contracts
or agreements; drawings; sketches; invoices, orders or acknowledgments; diaries, reports,
forecasts or appraisals; memoranda oftelephone or in person conversations by or with any person,
or any other memoranda; letters, telegrams, telexes, E-mails, or cables prepared, drafted, received
or sent; tapes, transcripts or recordings; photographs, pictures or films; computer programs or data
or other graphic, symbolic, recorded or written materials of any nature whatsoever. Any

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document which contains any comment,notation, addition,insertion or marking ofany kind which
is not part of another document,is to be considered a separate document.

       D. In each instance wherein you are asked to "Identify" or describe a "Document", your
description should be sufficient to satisfy the requirements of Section 34 ofthe Civil Practice Act,
and should include, but not be limited to:

      (1) the name,address,telephone number,occupation,job title and employer ofthe present
       custodian ofthe document;

      (2) the fact or facts which would tend to be established by the introduction into evidence
       ofthe document;

      (3) the date of the making of the document and the name, address, telephone number,
       occupation, job title and employer of each person whose testimony could be used to
       authenticate the document and lay the foundation for its introduction into evidence.

       E. In each instance wherein you are asked to "Identify" or describe a "person", your
description should be sufficient to satisfy the requirements of Section 34 ofthe Civil Practice Act,
and should include, but not be limited to:

       (1) the name, address, telephone number, occupation, job title and employer of such
       person;

       (2) the fact or facts which would tend to be established by the introduction into evidence
       ofsuch person;

      (3) the name, address, telephone number, occupation, job title and employer of such
person whose testimony could be used to authenticate the document and lay the foundation for its
introduction into evidence.

       F. The terms "You" and "Your" shall mean the named Defendant Wal-Mart Stores East,
L.P.,(including any predecessor, successor, and affiliate thereof)and employees, agents, and duly
authorized representatives.

       G.     The term "subject incident" shall mean the occurrence alleged by the Plaintiff to
have happened when she slipped and fell on a foreign substance at the 8424 Mall Parkway,
Lithonia, Georgia 30038 Wal-Mart Supercenter on May 7,2020.

       H.      The term "slip and fall incident", for purposes of these Requests shall mean any
incident or occurrence where and individual slips or claims to have slipped on a foreign substance,
including water and any other liquid or solid substance or item that is not where it is supposed to
be.


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       I.     The term "the area where the Plaintiff fell" when used herein shall mean the area
ofthe produce department or section ofthe Wal-Mart Supercenter located at 8424 Mall Parkway,
Lithonia, Georgia 30038.

      J.      The term "the Premises" shall mean the Wal-Mart Supercenter located at 8424 Mall
Parkway, Lithonia, Georgia 30038.

                                      INTERROGATORIES

                                        Interrogatory No. 1

          Please identify the name, title and basis of authority of each and every person answering

or contributing to the answers to these Interrogatories on your behalf.[Specifically excluded from

identification are individuals whose contributions to the responses to these interrogatories are

purely clerical in nature. Further excluded are defendant's counsel and defendant's counsel's

staff.]

                                        Interrogatory No.2

          Please identify the owner of the premises where the incident giving rise to this lawsuit

occurred. [Note: If you are not the 'owner' of the premises, to include the land upon which the

Walmart Supercenter at issue is located, or if you leased or rented the premises or any part thereof,

please identify any lessor.]

                                        Interrogatory No.3

          If you contend that the injuries Plaintiff sustained on May 7, 2020 at the 8424 Mall

Parkway, Lithonia, Georgia Wal-Mart Supercenter were the result ofany other person or person's

or entity's negligence, other than the Defendant or an employee of the Defendant, please state,

with specificity, the factual basis for any such claim or contention on your part. In your response

to this interrogatory, please fully and completely describe each negligent act or acts you claim



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were committed by such other person(non-related, employed or engaged by you)or entity which

resulted in any of Plaintiff's injuries.

                                           Interrogatory No.4

       Please identify, with sufficient particularity so as to allow the plaintiffto frame a Notice to

Produce, all procedures, procedures manuals, policies, directives, protocols, memorandums,

notices, alerts, safety messages, instructions, instruction manuals, training materials and all other

written or tangible memorialization which pertain to or concern in any way to the inspection and/or

maintenance and/or cleaning of floors at the 8424 Mall Parkway, Lithonia, Georgia Wal-Mart

Supercenter.

                                           Interrogatory No.5

        Identify, with sufficient particularity so as to allow the plaintiff to frame a Notice to

Produce, any maintenance logs or other reports utilized by the Defendant to memorialize

inspections ofthe floors at the subject premises.

                                           Interrogatory No.6

        Please state fully and completely how you maintain the alleged incident giving rise to this

lawsuit happened, please provide a complete chronology of events in your answer.

                                           Interrogatory No.7

        Please identify all incidents ofa 'slip and fall' or a claim of a 'slip and fall' incident which

occurred, or which was alleged to have occurred, at the 8424 Mall Parkway, Lithonia, Georgia

Wal-Mart Supercenter within the three(3)years prior to and up to May 7, 2020.




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                                       Interrogatory No.8

       Please identify all incidents ofa 'slip and fall' or a claim of a 'slip and fall' incident which

occurred, or which was alleged to have occurred, at any Wal-Mart Supercenter located in the State

of Georgia within the three(3) years prior to and up to May 7, 2020.

                                       Interrogatory No.9

       Please identify all individuals, by name and by title, who:

      (a)      was, on May 7, 2020,the most senior management employee at defendant Wal-

               Mart's 8424 Mall Parkway, Lithonia, Georgia location;

      (b)      was the immediate supervisor ofthe most senior management employee;

      (c)      was working at the 8424 Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter

               between 9:30 a.m. and 1:30 p.m. on May 7, 2020;

      (d)      was assigned to work in the produce department ofthe 8424 Mall Parkway,

               Lithonia, Georgia Wal-Mart Supercenter between 9:30 a.m. and 1:30 p.m. on May

               7,2020; and

      (e)      was the most senior person in charge ofthe produce department ofthe 8424 Mall

               Parkway, Lithonia, Georgia Wal-Mart Supercenter between 9:30 a.m. and 1:30

               p.m. on May 7,2020.

[NOTE: This interrogatory may be responded to in one response as long as the title and work

area is made clear.]

                                       Interrogatory No. 10

       Please identify, (i) the manager, or most senior executive of the 8424 Mall Parkway,

Lithonia, Georgia Wal-Mart Supercenter who was the manager,regardless of whether or not he or


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she was on duty or at the Stonehill Mall Wal-Mart Supercenter at the time ofthe incident at issue

on May 7, 2020; and (ii) such manager's immediate supervisor.

                                         Interrogatory No. 11

       Please identify all Persons that, to Your or Your representatives' knowledge, information

or belief:

   (a)        were eyewitnesses to any ofthe events ofthe incident giving rise to this lawsuit; and/or

    (b) any activities or actions of the Plaintiff, Lyndsey Long, within 12 hours prior to the

              incident; and/or

    (c) has knowledge concerning the incident giving rise to this lawsuit.

                                         Interrogatory No. 12

        Please state in reasonable detail the knowledge each Person identified in response to

Interrogatory No. 1 parts (a),(b)and (c).

                                         Interrogatory No. 13

        Please describe, in detail, all actions or activities ofthe plaintiff you, or any of your agents

or employees observed:(i) prior to the alleged incident while the plaintiff was inside the subject

Walmart Supercenter; and (ii) at the time of the subject incident; and (iii) after the alleged

accident/incident.

                                         Interrogatory No.14

        Did you or any of your agents or employees speak with or render any assistance or support

ofany kind to the plaintiff after she was injured? If you did, please describe any communications

or assistance or help was given to the plaintiff and the names and addresses of those persons

rendering assistance.


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                                     Interrogatory No. 15

       Please identify a designee (or designees) of Defendant Wal-Mart Stores East, L.P.,

pursuant to 0.C.G.A. § 9-11-30(b)(6), who can testify regarding Defendant Wal-Mart Stores East,

L.P.'s Answer to Plaintiff's Complaint and Defendant Wal-Mart Stores East, L.P.'s responses to

Plaintiffs First Interrogatories and First Requests for Production ofDocuments to Defendant Wal-

Mart Stores East, L.P.


       Respectfully submitted this       day of December,2020.


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                                                   et
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                     IN THE STATE COURT OF DEICALB COUNTY
                               STATE OF GEORGIA

LYNDSEY LONG,

              Plaintiff,
VS.                                                 CIVIL ACTION FILE

WAL-MART STORES EAST,L.P.                           NO. 20A83681

               Defendant.


            PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                                   AND
              NOTICE TO PRODUCE PURSUANT TO 0.C.G.A.§ 24-13-27
                 TO DEFENDANT WAL-MART STORES EAST,L.P.

       COMES NOW LYNDSEY LONG (hereinafter sometimes referred to by name or as

"Plaintiff") in the above-captioned case and hereby requests defendant WAL-MART STORES

EAST.L.P.(hereinafter sometimes referred to as"WAL-MART")produce, within forty-five(45)

days from the date ofservice ofPlaintiffs First Request for Production ofDocuments to Defendant

Wal-Mart Stores East, L.P. to Plaintiffs attorneys, Isenberg & Hewitt, PC at 600 Embassy Row,

Suite 150, Atlanta, Georgia 30328.

                                       INSTRUCTIONS

       YOU ARE HEREBY INSTRUCTED, to produce at every hearing, trial and every

deposition of the defendant or any of its officers or directors in the above-styled case, and from

time to time and from term to term, or until the above-styled matter is concluded, the following

requested documents and materials and records which are in your possession, custody or control.

       NOTE A:        Should any document or thing herein requested come into existence or

become known to you or your attorney subsequent to your receipt ofthis request or subsequent to


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the inspection or other means of producing said documents or things herein below requested, this

request shall be deemed to be continuing in nature.

       NOTE B:         As an alternative to producing the documents or other evidence of writing

herein below designated at the time,date and place above specified, you may Photostat true,correct

and genuine copies of such requested documents or other evidence of writing and attach same to

your formal response to the within and foregoing Request for Production; provided however that

nothing in this paragraph shall be deemed to nullify or amend defendant's obligation to present all

ofthe requested documents at any deposition or hearing or trial ofthis matter.

       NOTE C: If privilege is claimed as to any document otherwise covered by this request

for production, defendant requests that each document as to which privilege is claimed be

identified in a manner such that the Court may determine whether or not such document is entitled

to be accorded privileged status. Specifically, state (a)the document's sender or author, recipient,

date, type ofdocument(e.g., letter, memorandum,record, etc.) and general subject matter; and(b)

the basis upon which you claim the privilege. This request for production seeks inspection and

copying of documents in the possession of plaintiff and its agents and attorneys, including both

copies and originals, unless otherwise specifically stated.

                                         DEFINITIONS

       A.      The words "Document" and "Documents" mean all written, recorded, or graphic

matters, however produced or reproduced, whether or not privileged, pertaining in any way to the

subject matter ofthis action. This definition includes, but is not limited to, any and all originals,

copies, or drafts of any and all of the following: records; notes; summaries; schedules; contracts

or agreements; drawings; sketches; invoices, orders or acknowledgments; diaries, reports,


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forecasts or appraisals; memoranda oftelephone or in person conversations by or with any person,

or any other memoranda; letters, telegrams, telexes, E-mails, or cables prepared, drafted, received

or sent; tapes, transcripts or recordings; photographs, pictures or films; computer programs or data

or other graphic, symbolic, recorded or written materials of any nature whatsoever. Any

document which contains any comment,notation, addition,insertion or marking ofany kind which

is not part of another document, is to be considered a separate document.

       B.      The terms "You" and "Your" shall mean the named Defendant, Wal-Mart Stores

East, L.P.

       C.      The term "Knowledge" includes not only first-hand information, but includes

information derived from any other source including hearsay knowledge.

       D.      The term "subject incident" shall mean the occurrence alleged by the Plaintiff to

have happened when she slipped and fell on a foreign substance at the 8424 Mall Parkway,

Lithonia, Georgia 30038 Wal-Mart Supercenter on May 7, 2020.

       E.      The term "slip and fall incident", for purposes of these Requests shall mean any

incident or occurrence where an individual slips or claims to have slipped on a foreign substance,

including water or any other liquid or solid substance or item that is not where it is supposed to be.

       F.      "The area where the Plaintiff fell" when used herein shall mean the produce

department ofthe 8424 Mall Parkway, Lithonia, Georgia 30038 Wal-Mart Supercenter.

       G.      The term "the Premises" shall mean the Wal-Mart Supercenter located at 8424 Mall

Parkway, Lithonia, Georgia 30038.




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                                          Request No. 1

        Please produce all rules, regulations, mandates, guidelines, procedures, policies and all

similar writings, whether stored electronically or in tangible format pertaining to the cleaning,

maintenance, inspection, care, control and safety ofthe area ofthe premises where Plaintiff fell.

                                          Request No.2

        Please produce the index to all policy and procedures manuals, regardless oftheir title

used internally to describe such manuals, which contain any reference to floor cleaning, floor

maintenance, floor inspection, or floor safety protocols.

                                          Request No.3

        Please produce all training materials, including video materials, which were used to train

employees, including prospective employees, working at or being considered to work at the 8424

Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter relative to the cleaning and inspection of

floors during regular business hours. [This Request is limited in time to materials utilized during

the three(3) years prior to and up to May 7, 2020.]

                                          Request No. 4

        Please produce a copy of any employee manuals provided to employees working at the

8424 Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter, which manual or manuals were

issued to or provided to employees at any time within the three(3)years prior to and up to May 7,

2020.




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                                           Request No.5

       Please produce any and all pictures, photographs, images and video images which show

or depict the Plaintiff at any time she was on the 8424 Mall Parkway, Lithonia, Georgia Wal-

Mart Supercenter premises on May 7, 2020.

                                           Request No.6

       To the extent the same was not produced in response to the preceding Request, please

produce any and all pictures, photographs, images and video images which show or depict the

Plaintiff in the area where she fell on the 8424 Mall Parkway, Lithonia, Georgia Wal-Mart

Supercenter premises.

                                           Request No.7

       Please produce copies of all statements and reports which pertain to the subject incident.

                                           Request No.8

       Please produce a drawing or schematic or diagram which lays out or depicts the interior

footprint of the 8424 Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter. [This Request

seeks information and a depiction ofentrance and exits, aisles, registers, office space, bakery, meat

and produce areas.]

                                           Request No.9

       Please produce a copy of any report, incident report, notes and documentation of the

incident which is the subject of this lawsuit.




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                                           Request No. 10

       Please produce a copy of all 'slip and fall' incident reports which occurred at the 8424 Mall

Parkway, Lithonia, Georgia Wal-Mart Supercenter which incidents occurred within the three (3)

years prior to and up to May 7,2020.

                                           Request No. 11

       Please produce a copy of all 'slip and fall' incident reports which occurred at any and all

Wal-Mart Stores located in the State ofGeorgia which incidents occurred within the three(3)years

prior to and up to May 7, 2020.

                                           Request No. 12

       To the extent not produced in response to any other Request, please produce a copy of all

incident reports, clean-up reports or logs or orders, sweep reports or logs, floor inspection reports

or logs, and spill reports, regardless ofthe title or name or classification of such log or report used

or utilized internally by Defendant Wal-Mart, which reports or logs were prepared or which

referenced a May 7, 2020 act or occurrence.

                                          Request No. 13

       Please produce the job descriptions for or applicable to all employees working at the 8424

Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter on May 7, 2020.

                                          Request No. 14

       Please produce a list or report or memorialization which would identify all employees

working at the 8424 Mall Parkway, Lithonia, Georgia Wal-Mart Supercenter on May 7, 2020.




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                                          Request No. 15

         Please produce copies of all government inspections of the 8424 Mall Parkway, Lithonia,

 Georgia Wal-Mart Supercenter Premises which inspections occurred at any time within the three

(3) years prior to and up to May 7, 2020. [This Request includes, but is not limited to Health

 Department inspections, building inspections, fire inspections, etc.]

                                          Request No. 16

         To the extent not produced in Response to any prior Request,please produce all documents,

 correspondence,reports, memorialization, notes and emails which in any way pertain to the subject

 incident.

                                          Request No. 17

         Please produce a copy of all expert reports which have been obtained from any expert

 expressing an opinion as to the subject incident.

                                          Request No. 18

         Please produce a copy ofthe curriculum vitae (or resume)for any expert who may be called

 to testify at trial.

                                          Request No. 19

         Please produce a copy of all policies, procedures, rules, regulations, mandates, guidelines

 which refer to Your retention of video surveillance images.

                                          Request No.20

         To the extent not produced in response to any above Request, please produce a copy of all

 documents You referenced in Your Answer and all documents You referred to in Your Response

 to Plaintiff's First Interrogatories to Defendant Wal-Mart Stores East, L.P.


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            /1
      This I_ day of           2020.
                                          ISENBERG            ITT,P.C.



                                                 L. H itt, Jr.
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                 IN THE STATE COURT OF DEKALB COUNTY
                           STATE OF GEORGIA

LYNDSEY LONG,                                             Civil Action File No.
                                                          20A83681
             Plaintiff,
v.

WAL-MART STORES EAST, L.P.,

             Defendant.
                               /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant WAL-MART STORES EAST, LP., and makes this

Answer to Plaintiff's Complaint as follows:

                                   FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which

relief can be granted.

                               SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                   THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for her own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

herself; and on account thereof, Plaintiff is not entitled to recover from Defendant.

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                                                                                     STATE COURT OF
                                                                                  DEKALB COUNTY, GA.
                                                                                     12/7/2020 7:23 AM
                                                                                               E-FILED
                                                                                        BY: Kelly Flack
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                              FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that

any negligent act or omission on its part caused or contributed to any injury or

damage alleged to have been sustained by Plaintiff.

                                FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                SIXTH DEFENSE

      Plaintiff's claims are barred by insufficiency of service and insufficiency of

process.

                              SEVENTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                        1.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 1 of Plaintiff's Complaint.

                                        2.

      Defendant admits the allegations contained in paragraph 2 of the Plaintiff's

Complaint, but shows that it is a "limited partnership".


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                                        3.

      Defendant admits the allegations contained in paragraph 3 of the Plaintiff's

Complaint.

                                        4.

      Defendant admits the allegations contained in paragraph 4 of the Plaintiff's

Complaint.

                                        5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint, as stated.

                                        6.

      Defendant admits the allegations contained in paragraph 6 of the Plaintiff's

Complaint at this time only.

                                        7.

      Defendant admits the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

                                        8.

      Defendant admits the allegations contained in paragraph 8 of the Plaintiff's

Complaint.




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                                       9.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 9 of Plaintiff's Complaint.

                                       10.

      Defendant denies the allegations contained in paragraph 10 of Plaintiff's

Complaint.

                                       11.

      Defendant lacks sufficient knowledge and information to either admit or

deny the allegations contained in paragraph 11 of Plaintiff's Complaint, said

allegations therefore stand denied.

                                       12.

      Defendant denies the allegations contained in paragraph 12 of Plaintiff's

Complaint, as stated.

                                       13.

      Defendant denies the allegations contained in paragraph 13 of Plaintiff's

Complaint.

                                       14.

      Defendant denies the allegations contained in paragraph 14 of Plaintiff's

Complaint, as stated.


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                                      15.

      Defendant denies the allegations contained in paragraph 15 of Plaintiff's

Complaint.

                                      16.

      Paragraphs 1 through 15 are incorporated by reference as though fully and

completely set forth.

                                      17.

      Defendant admits only that Wal-Mart Stores East, LP operated the subject

store. Defendant denies the remaining allegations contained in paragraph 17 of

Plaintiff's Complaint.

                                      18.

      Defendant denies the allegations contained in paragraph 18 of Plaintiff's

Complaint, as stated.

                                      19.

      Defendant denies the allegations contained in paragraph 19 of Plaintiff's

Complaint, as stated.

                                      20.

      Defendant denies the allegations contained in paragraph 20 of Plaintiff's

Complaint, as stated. The applicable statute and case law speak for themselves.


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                                      21.

      Defendant denies the allegations contained in paragraph 21 of Plaintiff's

Complaint. The applicable statute and case law speak for themselves.

                                      22.

      Defendant denies the allegations contained in paragraph 22 of Plaintiff's

Complaint.

                                      23.

      Defendant denies the allegations contained in paragraph 23 of Plaintiff's

Complaint.

                                      24.

      Defendant denies the allegations contained in paragraph 24 of Plaintiff's

Complaint.

                                      25.

      Paragraphs 1 through 24 are incorporated by reference as though fully and

completely set forth herein.

                                      26.

      Defendant denies the allegations contained in paragraph 26 of Plaintiff's

Complaint.




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                                       27.

      Defendant denies the allegations contained in paragraph 27 of Plaintiff's

Complaint.



                                       28.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.

                                       29.

      Defendant denies Plaintiff's prayer for relief, including subparagraphs (a)

and (b), and second (a) and (b) thereof.

      WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                      McLAIN & MERRITT, P.C.




                                      /s/ Howard M. Lessinger
                                      Howard M. Lessinger
                                      Georgia Bar No. 447088

                 STATE COURT OF
                 DEKALB COUNTY, GA.
                 12/7/2020 7:23 AM
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                                                                EXHIBIT C


                                    /s/ Jennie Rogers
                                   Jennie Rogers
                                   Georgia Bar No. 612725
                                   Attorneys for Defendant
                                   WAL-MART STORES EAST, LP..

3445 Peachtree Road, N.E.
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                                                                EXHIBIT C


                         CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT WAL-MART STORES EAST, LP.. has this day been filed and served

upon opposing counsel via Odyssey eFileGA.

     This the   7th   day of December, 2020.

                                    McLAIN & MERRITT, P.C.



                                    /s/ Howard M. Lessinger
                                    Howard M. Lessinger
                                    Georgia Bar No. 447088
                                    Attorney for Defendant
                                    WAL-MART STORES EAST, LP..
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                                                                      EXHIBIT C


                 IN THE STATE COURT OF DEKALB COUNTY
                           STATE OF GEORGIA

LYNDSEY LONG,                                            Civil Action File No.
                                                         20A83681
             Plaintiff,
v.

WAL-MART STORES EAST, L.P.,

             Defendant.
                              /

                           12-PERSON JURY DEMAND

      COMES NOW Defendant, WALMART STORES EAST, L.P. and demands a

trial by a jury of twelve (12) persons.


                                          McLAIN & MERRITT, P.C.

                                          /s/ Howard M. Lessinger
                                          Howard M. Lessinger
                                          Georgia Bar No. 447088
                                          Attorneys for Defendant
                                          WALMART STORES EAST, L.P.
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                                                                                    STATE COURT OF
                                                                                 DEKALB COUNTY, GA.
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                               CERTIFICATE OF SERVICE

          I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via Odyssey

E-file.

          This the   7th   day of December, 2020.

                                         McLAIN & MERRITT, P.C.



                                         /s/ Howard M. Lessinger
                                         Howard M. Lessinger
                                         Georgia Bar No. 447088
                                         Attorney for Defendant
                                         WALMART STORES EAST, LP..
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                                                                                  EXHIBIT C


                        IN THE STATE COURT OF DEKALB COUNTY
                                  STATE OF GEORGIA

LYNDSEY LONG,                                 )
                                              )
                 Plaintiff,                   )
vs.                                           )     CIVIL ACTION FILE
                                              )
WAL-MART STORES EAST, L.P.                    )     NO. 20A83681 _____
                                              )
                 Defendant.                   )

                                  CERTIFICATE OF SERVICE

       This is to certify I have caused Plaintiff’s Response to Defendant’s First Request for

Admissions of Fact to be served upon counsel for defendant via statutory electronic service to

the following:

                         Howard M. Lessinger (hlessinger@mmatllaw.com)

                              Jennie E. Rogers (jrogers@mmatllaw.com)



       This 7th day of January, 2021.
                                                    ISENBERG & HEWITT, P.C.

                                                    /s/ Melvin L Hewitt
                                                    Melvin L. Hewitt, Jr.
                                                    Georgia Bar No. 350319
                                                    Hilary W. Hunter
                                                    Georgia Bar No. 742696
                                                    Rick Crowson
                                                    Georgia Bar No. 452036
                                                    Attorneys for the Plaintiff
600 Embassy Row, Suite 150
Atlanta, Georgia 30328
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mel@isenberg-hewitt.com
hilary@isenberg-hewitt.com
rick@isenberg-hewitt.com
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                                                                      EXHIBIT C


                IN THE STATE COURT OF DEKALB COUNTY
                          STATE OF GEORGIA

LYNDSEY LONG,                                           Civil Action File No.
                                                        20A83681
            Plaintiff,
v.

WAL-MART STORES EAST, L.P.,

            Defendant.
                             /

                         NOTICE OF TAKING DEPOSITION

      YOU ARE HEREBY notified that beginning on the 8th day of March, 2021,

commencing at 11:00 a.m., at the offices of Isenberg & Hewitt, PC, 600 Embassy

Row, Suite 150, Atlanta, GA, the deposition will be taken of Lyndsey Long. Said

deposition will be taken for purposes of discovery and all other purposes provided

by law before an officer duly authorized to administer oaths. The deposition shall

continue from day-to-day until completion.         This deposition may also be

videotaped by a videographer.

                                            McLAIN & MERRITT, P.C.



                                              /s/ Howard M. Lessinger
                                            Howard M. Lessinger
                                            Georgia Bar No. 447088
                                            Attorneys for Defendant




                                                                                   STATE COURT OF
                                                                                DEKALB COUNTY, GA.
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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing NOTICE OF TAKING

DEPOSITION has this day been filed and served upon opposing counsel via

Odyssey E-File.

      This the    7th   day of December, 2020.

                                     McLAIN & MERRITT, P.C.



                                     /s/ Howard M. Lessinger
                                     Howard M. Lessinger
                                     Georgia Bar No. 447088
                                     Attorney for Defendant
                                     WAL-MART STORES EAST, L.P.
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                                                                      EXHIBIT C


                 IN THE STATE COURT OF DEKALB COUNTY
                           STATE OF GEORGIA

LYNDSEY LONG,                                            Civil Action File No.
                                                         20A83681
             Plaintiff,
v.

WAL-MART STORES EAST, L.P.,

             Defendant.
                              /

                  CERTIFICATE REGARDING DISCOVERY

      Pursuant to Uniform State Court Rule 5.2, as amended, the undersigned

hereby certifies that the following discovery has been served upon all persons

identified in the Certificate of Service attached hereto and incorporated herein by

reference:

DEFENDANT'S FIRST REQUEST FOR ADMISSIONS TO PLAINTIFF

DEFENDANT'S INTERROGATORIES AND REQUEST FOR PRODUCTION TO
PLAINTIFF

                                      McLAIN & MERRITT, P.C.

                                      /s/ Howard M. Lessinger
                                      Howard M. Lessinger
                                      Georgia Bar No. 447088
                                      Attorneys for Defendant
                                      WALMART STORES EAST, L.P.
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                                                                EXHIBIT C



                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing CERTIFICATE

REGARDING DISCOVERY has this day been filed and served upon opposing

counsel via Odyssey E-file.

      This the   7th     day of December, 2020.

                                   McLAIN & MERRITT, P.C.




                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088
                                   Attorney for Defendant
                                   WALMART STORES EAST, L.P.
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